        Case 23-90001-elm11                             Doc 1        Filed 02/14/23 Entered 02/14/23 00:06:55                                  Desc Main
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 Fill in this information to identify the case:

 United States Bankruptcy Court for the :

  Northern                  District of   Texas
                                          (State)
 Case number ur known) : _ _ _ _ _ _ _ _ _ _ Chapter__:!_!__
                                                                                                                                           D   Check if this is an
                                                                                                                                               amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                    os,22
If more space Is needed, attach a separate sheet to this form . On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



 1.   Debtor's name                                 Tuesday Morning Corporation


 2.   All other names debtor used
      in the last 8 years
      Include any assumed names,
      trade names , and doing business
      as names



 3.   Debtor's federal Employer                     7       5 - 2398532
      Identification Number (EIN)



 4.   Debtor's address                              Principal place of business                                   Mailing address, if different from principal place
                                                                                                                  of business

                                                    6250            LBJ Freeway
                                                    Number         Street                                         Number      Street



                                                                                                                  P.O. Box

                                                    Dallas                            TX         75240
                                                    City                              State    · ZI P Code        City                         State       ZIP Code


                                                                                                                  Location of principal assets, if different from
                                                                                                                  principal place of business
                                                    Dallas
                                                    County
                                                                                                                  Number      Street




                                                                                                                  City                         State       ZIP Code




 5.   Debtor's website (URL)                        www.tuesdaymorning .com




Official Form 201                                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 1
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Debtor        T11esday Morning Corporation
              Name
                                                                                                Case number (if known), _ _ _ _ _ _ _ _ _ _ _ _ __




 s. Type of debtor
                                          r;:a Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          0 Partnership (excluding LLP)
                                          0 Other. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                          A. Check one:
 1.   Describe debtor's business
                                          0   Health Care Business (as defined in 11 U.S.C. § 101 (27A))
                                          D Single Asset Real Estate (as defined in 11 U.S.C. § 101 (51 B))
                                          D Railroad (as defined in 11 U.S.C. § 101(44))
                                          D Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          D Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          D Clearing Bank (as defined in 11 U.S .C. § 781 (3))
                                          ~ None of the above


                                          B. Check all that apply:

                                          D Tax-exempt entity (as described in 26 U.S .C. § 501)
                                          0   Investment company , including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                          D Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-n aics-cod es .
                                              4422
                                              - ---
  s. Under which chapter of the           Check one:
     Bankruptcy Code is the
     debtor filing?                       D   Chapter 7
                                          0   Chapter 9
                                          ~ Chapter 11 . Check all that apply:
      A debtor who is a "small business
      debtor" must check the first sub-                    D    The debtor is a small business debtor as defined in 11 U.S.C. § 101(510), and its
      box . A debtor as defined in                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                           affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                          recent balance sheet, statement of operations , cash-flow statement, and federal
      (whether or not the debtor is a                           income tax return or if any of these documents do not exist , follow the procedure in
      "small business debtor'') must                            11 U.S.C. § 111 6(1)(8) .
      check the second sub-box.                            0    The debtor is a debtor as defined in 11 U .S.C. § 1182(1), its aggregate
                                                                noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                less than $7 ,500,000, and it chooses to proceed under Subchapter V of
                                                                Chapter 11. If this sub-box is selected , attach the most recent balance sheet,
                                                                statement of operations, cash-flow statement, and federal income tax return , or if
                                                                any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                § 1116(1)(8).

                                                           D    A plan is being filed with this petition .

                                                           0    Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors , in accordance with 11 U .S.C. § 11 26(b).
                                                           xD   The debtor is required to file periodic reports (for example, 1OK and 1OQ) with the
                                                                Securities and Exchange Commission accord ing to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           D    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                          0 _Chapief1Z_        __ _   ____ _ _______ _




   Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor           Tuesday Morning Corporation                                                  Case number (it known) _ _ _ _ _ _ _ _ _ _ _ _ __
                 Name



 9.     Were prior bankruptcy cases        D No
        filed by or against the debtor                      Northern District of Texas 05/27/2020      20 31476 hdh11
        within the last 8 years?           ~ Yes . District _ _ _ _ _ _ _ _ When _ _ _ _ _ Case number __-_ _ _-_ _ __
                                                                                                MM/ DD / YYYY
        If more than 2 cases , attach a
        separate list.                               District _ _ _ _ _ _ _ _ _ When _ _ _ _ _ _ Case number _ _ _ _ _ _ _ __
                                                                                     MM/ DD /YYYY
                                                                                                         - - - - - ------------------
 10. Are any bankruptcy cases              □ No
        pending or being filed by a
                                           ~Yes. Debtor         See attached Rider                                Relationship
        business partner or an
        affiliate of the debtor?                                _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ When
                                                     District
        List all cases . If more than 1,                                                                                         MM   /   DD   /YYYY
        attach a separate list.                      Case number, if known _ _ _ _ _ _ _ _ _ _ __
                                                ---- -             --------------------------------
 11 .   Why is the case filed in this      Check all that apply:
        district?
                                           ~ Debtor has had its domicile, principal place of business , or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           ~ A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


 12 .   Does the debtor own or have        ~ No
        possession of any real             O Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed .
        property or personal property
        that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                    0   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                    D   It needs to be physically secured or protected from the weather.

                                                    D   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example , livestock, seasonal goods , meat, dairy, produce , or securities-related
                                                        assets or other options).

                                                    D   Other _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                                    Where is the property? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                           Number     Street




                                                                               City                                              State ZIP Code


                                                    Is the property insured?

                                                    D    No
                                                    D    Yes. Insurance agency _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                                                                Contact name

                                                                Phone




                 Statistical and administrative information




  Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    pag e 3
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Debtor             Tuesday Morning Corporation                                                             Case number   (if known),_ _ _ _ _ _ _ _ _ _ _ __
                   Name




 13. Debtor's estimation of                     Check one:
       available funds                         \J   Funds will be available for distribution to unsecured creditors .
                                               0    After any administrative expenses are paid , no funds will be available for distribution to unsecured creditors.


                                                0   1-49                             ~ 1,000-5,000                                  0   25,001-50,000
 14.   Estimated number of                      0                                    0
       creditors
                                                    50-99                                   5,001-10,000                            0   50,001-100,000

       Consolidated
                                                0   100-199                          0      10,001-25,000                           0   More than 100,000
                                                0   200-999


                                                0   $0-$50,000                        0     $1,000,001-$10 million                  0   $500,000 ,001-$1 billion
 15.   Estimated assets
                                                0   $50,001 -$100,000                 0     $10,000,001-$50 million                 0   $1,000,000,001-$10 billion
       Consolidated                             0   $1 00,001-$500,000                0     $50,000,001-$100 million                0   $10,000,000,001-$50 billion
                                                0   $500 ,001-$1 million              QSl   $100,000 ,001-$500 million              0   More than $50 billion
··--·--•·--•·---

                                                0   $0-$50,000                        0     $1,000,001-$10 million                  0   $500,000,001-$1 billion
 1s.   Estimated liabilities                    0   $50,001-$100,000                  0     $10,000,001-$50 million                 0   $1 ,000 ,000,001-$10 billion
       Consolidated                             0   $100,001-$500,000                 0     $50,000,001-$100 million                0   $10,000,000,001-$50 billion
                                                0   $500,001 -$ 1 million             (211 $100,000 ,001-$500 million               0   More than $50 billion




                   Request for Relief, Declaration, and Signatures


  WARNING -- Bankruptcy fraud is a serious crime . Making a false statement in connection with a bankruptcy case can result in fines up to
                      $500,000 or imprisonment for up to 20 years , or both. 18 U.S.C. §§ 152, 1341 , 1519, and 3571.


 11.   Declaration and signature of                  The debtor requests relief in accordance with the chapter of title 11 , United States Code, specified in this
       authorized representative of
                                                     petition.
       debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true and
                                                     correct.


                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                               02/13/2023
                                                             dL:...
                                                     Executed on
                                                                      /YYYY
                                                                                ~
                                                                                                                       Andrew T. Berger
                                                 X               '"
                                                                                ~btor
                                                     Signature of authorized repres;;;;;;;;v                         Printed name

                                                     Title    Chief Executive Officer




   Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 4
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Debtor          Tuesday Morning Corporation
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                              /s/ Deborah M. Perry
                                            _____________________________________________            Date         02/13/2023
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                               Deborah M. Perry
                                           _________________________________________________________________________________________________
                                           Printed name
                                               Munsch Hardt Kopf & Harr P.C.
                                           _________________________________________________________________________________________________
                                           Firm name
                                              500 N. Akard St., Ste. 3800
                                           _________________________________________________________________________________________________
                                           Number      Street
                                                Dallas
                                           ____________________________________________________              TX
                                                                                                           ____________   75201
                                                                                                                        ______________________________
                                           City                                                            State        ZIP Code

                                              214-855-7565
                                           ____________________________________                              dperry@munsch.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                             24002755
                                           ______________________________________________________   Texas
                                                                                                  ____________
                                           Bar number                                             State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION

In re:                                                §   Chapter 11
                                                      §
Tuesday Morning Corporation,                          §   Case No. 23-[●]
                                                      §
Debtor.                                               §

                             STATEMENT OF CORPORATE OWNERSHIP
                              OF TUESDAY MORNING CORPORATION

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the undersigned authorized officer of Tuesday Morning Corporation certifies that the following

corporate entities/individuals own more than 10% of the Debtor’s equity interest.

                 Shareholder                                  Percentage of Total Shares
 TASCR Ventures, LLC                                                 50.484143%
 1010 N. Florida Avenue
 Tampa, FL 33602

 Cede & Co.                                                            49.419920%
 570 Washington Blvd.
 Jersey City, NJ 07310




                                                  TUESDAY MORNING CORPORATION

                                                  By:                  __________________
                                                  Andrew T. Berger
                                                  Chief Executive Officer




4873-1612-5008v.1 021701.00001
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Debtor: Tuesday Morning Corporation, et al.                                                              Case number (if known): ______________

       Fill in this information to identify the case:

       Debtor name       Tuesday Morning Corporation, et al.
       United States Bankruptcy Court for the:    Northern                       District of     Texas
                                                                                               (State)
       Case number (If known):
                                                                                                                                                           Check if this is an
                                                                                                                                                              amended filing




     Official Form 204
     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest
     Unsecured Claims and Are Not Insiders                                                                                                                                  12/15

     A list of creditors holding the 40 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
     disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
     secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 40
     largest unsecured claims.


      Name of creditor and complete               Name, telephone number,              Nature of the       Indicate if     Amount of unsecured claim
      mailing address, including zip              and email address of creditor        claim (for          claim is        If the claim is fully unsecured, fill in only unsecured claim
      code                                        contact                              example, trade      contingent,     amount. If claim is partially secured, fill in total claim
                                                                                       debts, bank         unliquidated,   amount and deduction for value of collateral or setoff to
                                                                                       loans,              or disputed     calculate unsecured claim.
                                                                                       professional
                                                                                       services, and
                                                                                                                              Total claim, if      Deduction for          Unsecured
                                                                                                                                partially             value of              claim
                                                                                                                                secured             collateral or
                                                                                                                                                       setoff
     CENTRO, INC                                 SHAWN RIEGSECKER, CEO                Trade Vendor                                                                      $1,428,422.78
 1   11 E MADISON ST. 6TH FLOOR                  P: 312-423-1565
     CHICAGO, IL 60602                           F:




     HOME ESSENTIALS AND BEYOND                  LOUELDA SANTOS                       Trade Vendor                                                                      $1,071,717.55
 2   INC                                         P: 732-590-3600
     200 THEODORE CONRAD DRIVE                   F: 732-590-3660
     JERSEY CITY, NJ 07305                       lsantos@homeess.com



     MEYER CORP.                                 STANLEY CHENG                        Trade Vendor                                                                       $829,511.03
 3   1 MEYER PLAZA                               P: 701-551-2800
     VALLEJO, CA 94590                           F:




     AZZURE HOME INC                             TAL CHALOUGH                         Trade Vendor                                                                       $824,555.71
 4   141 W 35TH ST STE 901                       P: 212-631-0300
     NEW YORK, NY 10018                          F:
                                                 tal.chalouh@azzurehome.com



     MICHEL DESIGN WORKS                         STUART TELLER                        Trade Vendor                                                                       $618,603.17
 5   2975 ROUTE 35 SUITE 65                      P: 617-504-0950
     KATONAH, NY 10536                           F: 352-387-3041
                                                 steller@micheldesignworks.com



     BLUE SKY                                    KEN KING                             Trade Vendor                                                                       $574,710.76
 6   2075 S. ATLANTIC BLVD SUITE H               P: 909-930-6200
     MONTEREY PARK, CA 91754                     F:
                                                 ken@blueskyclayworks.com



     ENCHANTE ACCESSORIES, INC.                  WILLIE GOLFIN                        Trade Vendor                                                                       $536,816.02
 7   16 EAST 34TH ST                             P: 212.689.6008
     NEW YORK, NY 10016                          F:
                                                 wilieg@ench.com




     Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims                                                 page 1
             Case 23-90001-elm11                 Doc 1       Filed 02/14/23 Entered 02/14/23 00:06:55                                      Desc Main
                                                            Document     Page 8 of 19
Debtor: Tuesday Morning Corporation, et al.                                                 Case number (if known): ______________


      Name of creditor and complete      Name, telephone number,             Nature of the    Indicate if     Amount of unsecured claim
      mailing address, including zip     and email address of creditor       claim (for       claim is        If the claim is fully unsecured, fill in only unsecured claim
      code                               contact                             example, trade   contingent,     amount. If claim is partially secured, fill in total claim
                                                                             debts, bank      unliquidated,   amount and deduction for value of collateral or setoff to
                                                                             loans,           or disputed     calculate unsecured claim.
                                                                             professional
                                                                             services, and
                                                                                                               Total claim, if         Deduction        Unsecured claim
                                                                                                              partially secured       for value of
                                                                                                                                      collateral or
                                                                                                                                         setoff

     MODE TRANSPORTATION LLC            RICHARD ROSSI                       Trade Vendor                                                                    $504,725.00
 8   PO BOX 936644                      P: 901-390-7560
     ATLANTA, GA 31193-6644             F:
                                        richard.rossi@modetransportation.co
                                        m


     UMA ENTERPRISES, INC               YVONNE FONG                          Trade Vendor                                                                   $456,214.40
 9   LOCKBOX #3878                      P: 310-631-1166
     COLUMBUS, OH 43260-3878            F:
                                        yvonne@umainc.com



    AXLE LOGISTICS, LLC                 BANKRUPTCY AND LEGAL                 Trade Vendor                                                                   $429,943.00
 10 835 N. CENTRAL STREET               DEPARTMENTS
    KNOXVILLE, TN 37917                 P: 800-693-1779
                                        F:



    MI9                                 ALAN NEMETH                          Trade Vendor                                                                   $416,906.25
 11 PO BOX 392723                       P: 786-577-3177
    PITTSBURGH, PA 15251-9723           F:
                                        anemeth@mi9retail.com



    14303 INWOOD ROAD,LP                BRETT ZIMMERMAN                      Trade Vendor                                                                   $395,148.55
 12 3800 N LAMAR BLVD. STE 350          P:
    AUSTIN, TX 78756                    F:




    TRADE LINES INC                     SUDARSHAN UPPULURI                   Trade Vendor                                                                   $394,964.10
 13 660 MONTROSE AVE                    P: 908-754-3232 x 112
    SOUTH PLAINFIELD, NJ 07080          F:
                                        sudarshan@tli.com



    LOLOI RUGS                          JT LAGRANGE                          Trade Vendor                                                                   $393,946.37
 14 PO BOX 95344                        P: 972-503-5656
    GRAPEVINE, TX 76099-9732            F:
                                        jlagrange@loloirugs.com



    LIFETIME BRANDS INC                 JULIE RODRIGUEZ                      Trade Vendor                                                                   $330,268.04
 15 DEPT CH 117445                      P: 609-373-1826
    PALATINE, IL 60055-7745             F:
                                        julie.rodriguez@lifetimebrands.com



    YMF CARPET INC                      KELLY ADDESSI                        Trade Vendor                                                                   $327,087.15
 16 201B MIDDLESEX CENTER BLVD          P: 732-393-1800 x312
    MONROE TOWNSHIP, NJ 08831           F:
                                        kaddessi@ymfinc.com



    AMERICAN CRAFTS                     BRUCE GWILLIAM                       Trade Vendor                                                                   $313,349.70
 17 PO BOX 736049                       P: 801-673-1786
    DALLAS, TX 75373-6049               F:
                                        bruceg@americancrafts.com




     Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims                                        page 2
            Case 23-90001-elm11                 Doc 1       Filed 02/14/23 Entered 02/14/23 00:06:55                                   Desc Main
                                                           Document     Page 9 of 19
Debtor: Tuesday Morning Corporation, et al.                                             Case number (if known): ______________

     Name of creditor and complete       Name, telephone number,         Nature of the    Indicate if     Amount of unsecured claim
     mailing address, including zip      and email address of creditor   claim (for       claim is        If the claim is fully unsecured, fill in only unsecured claim
     code                                contact                         example, trade   contingent,     amount. If claim is partially secured, fill in total claim
                                                                         debts, bank      unliquidated,   amount and deduction for value of collateral or setoff to
                                                                         loans,           or disputed     calculate unsecured claim.
                                                                         professional
                                                                         services, and
                                                                                                           Total claim, if         Deduction        Unsecured claim
                                                                                                          partially secured       for value of
                                                                                                                                  collateral or
                                                                                                                                     setoff

    TRAMONTINA USA, INC.                MARCOS NEVES                     Trade Vendor                                                                   $302,323.75
 18 12955 WEST AIRPORT BLVD             P: 281-340-8400
    SUGERLAND, TX 77478-6119            F:
                                        accountsreceivable@tramontina-
                                        usa.com


    MJC CONFECTIONS LLC/DBA             MATTHEW SILBERSTEIN              Trade Vendor                                                                   $302,163.80
 19 HAMPTON POPCORN                     P: 888-947-6726
    999 SOUTH OYSTER BAY RD #500        F:
    BETHPAGE, NY 11714



    SAMSONITE CORP                      JAMES B. REGO                    Trade Vendor                                                                   $299,020.57
 20 DEPT CH 19296                       P: 508-851-1427
    PALATINE, IL 60055-9296             F:
                                        james.rego@samsonite.com



    HARRY & DAVID                       ERIK SCHENDEL                    Trade Vendor                                                                   $296,529.14
 21 2500 S PACIFIC HWY                  P: 541-864-2107
    MEDFORD, OR 97501                   F: 800-648-6640
                                        eschendel@harryanddavid.com



    TURKO TEXTILE LLC.                  NURI EMRE ARAZ                   Trade Vendor                                                                   $294,501.00
 22 267 5TH AVE #408                    P: 917-597-3409
    NEW YORK, NY 10016                  F:
                                        nuri@enchantehome.com



    K HALL STUDIO, LLC                  SCOTT MILLER                     Trade Vendor                                                                   $283,529.62
 23 715 HANLEY INDUSTRIAL COURT         P: 314-961-1990
    ST. LOUIS, MO 63144                 F:
                                        info@khallstudio.com



    DYNAMIC RUGS                        MATTHEW ROUHANIAN                Trade Vendor                                                                   $280,801.30
 24 4845 GOVERNORS WAY                  P: 240-405-1360
    FREDERICK, NK 21704                 F: 240-405-1370
                                        matthew@dynamicrugs.com



    SURYA CARPET, INC                   SURYA TIWARI                     Trade Vendor                                                                   $274,024.20
 25 PO BOX 896604                       P: 877-275-7847
    CHARLOTTE, NH 28289-6604            F: 877-786-7847
                                        info@surya.com



    STYLECRAFT HOME COLLECTION          ANGELA D MONAGHAN                Trade Vendor                                                                   $271,461.20
 26 INC                                 P: 662-429-5279
    PO BOX 11407                        F:
    BIRMINGHAM, AL 35246-6471           amonaghan@stylecraft-us.com



    ST JAMES HOME INC                   JIAN TAO                         Trade Vendor                                                                   $270,756.50
 27 309 OLDWOODS RD                     P: 201-665 8680
    FRANKLIN LAKES, NJ 07417            F:
                                        tao07470@aol.com



    L R RESOURCES INC                   FORAM PATEL                      Trade Vendor                                                                   $267,288.00
 28 PO BOX 6131                         P: 706-259-0155 ext 123
    DALTON, GA 30722                    F:
                                        foram@lrresources.com




    Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims                                    page 3
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Debtor: Tuesday Morning Corporation, et al.                                              Case number (if known): ______________

     Name of creditor and complete       Name, telephone number,          Nature of the    Indicate if     Amount of unsecured claim
     mailing address, including zip      and email address of creditor    claim (for       claim is        If the claim is fully unsecured, fill in only unsecured claim
     code                                contact                          example, trade   contingent,     amount. If claim is partially secured, fill in total claim
                                                                          debts, bank      unliquidated,   amount and deduction for value of collateral or setoff to
                                                                          loans,           or disputed     calculate unsecured claim.
                                                                          professional
                                                                          services, and
                                                                                                            Total claim, if         Deduction        Unsecured claim
                                                                                                           partially secured       for value of
                                                                                                                                   collateral or
                                                                                                                                      setoff

    RICARDO BEVERLY HILLS INC           NICKI ABBOTT                      Trade Vendor                                                                   $265,375.00
 29 6329 22TTH ST STE. 101              P: 425-207-1918
    KENT, WA 98032-1893                 F:
                                        nabbott@ricardobeverlyhills.com



    ORIENTAL WEAVERS, USA               JONATHAN WITT                     Trade Vendor                                                                   $263,377.68
 30 PO BOX 2153                         P: 800-858-5749
    BIRMINGHAM, AL 35287-9325           F: 706-277-9691




    BAREFOOT DREAMS, INC                BANKRUPTCY AND LEGAL              Trade Vendor                                                                   $260,890.52
 31 5302 DERRY AVE SUITE D              DEPARTMENTS
    AGOURA HILLS, CA 91301              P: 855-269-2442; 818-707-8848
                                        F:
                                        help@barefootdreams.com


    HDS TRADING CORP                    VICTOR GUINDI                     Trade Vendor                                                                   $259,663.16
 32 1305 JERSEY AVE                     P: 732-418-0418
    NORTH BRUNSWICK, NJ 08902           F:
                                        victor@hdstrading.com



    BERKSHIRE BLANKET AND HOME          SCOTT MADDALENE, CEO              Trade Vendor                                                                   $257,929.20
 33 CO, INC                             P:
    PO BOX 21921                        F:
    NEW YORK, NY 10087-1921



    CRYSTAL ART OF FLORIDA INC          ELENA MENDEZ                      Trade Vendor                                                                   $250,853.68
 34 DEPT CH 16738                       P: 323-417-4503
    PALATINE, IL 60055-6738             F:
                                        elenam@crystalartgallery.com



    UBER FREIGHT LLC                    KAREN WALKER                      Trade Vendor                                                                   $239,232.00
 35 PO BOX 74007178                     P: 866-576-1039
    CHICAGO, IL 60674                   F:




    THE GODINGER GROUP                  STEVEN BLOCK                      Trade Vendor                                                                   $239,000.94
 36 63-15 TRAFFIC AVE                   P: 718-418-1000
    RIDGEWOOD, NY 11385                 F: 718-418-1740




    E & E CO LTD                        EDMUND JIN                        Trade Vendor                                                                   $236,548.05
 37 45875 NORTHPORT LOOP EAST           P: 510-490-9788
    FREMONT, CA 94538                   F:




    HOMEVIEW DESIGN INC                 EDMUND TONG                       Trade Vendor                                                                   $233,845.92
 38 PO BOX 849                          P: 626-338-0028
    AZUSA, CA 91702                     F:
                                        edmund@homeviewdesign.com



    SAM SALEM & SON                     JESSE SALEM                       Trade Vendor                                                                   $230,809.00
 39 302 FIFTH AVE 4TH FL                P: 212-695-6020
    NEW YORK, NY 10001                  F:
                                        jesse@samsalemson.com




    Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims                                      page 4
            Case 23-90001-elm11                 Doc 1       Filed 02/14/23 Entered 02/14/23 00:06:55                                   Desc Main
                                                          Document      Page 11 of 19
Debtor: Tuesday Morning Corporation, et al.                                             Case number (if known): ______________

     Name of creditor and complete       Name, telephone number,         Nature of the    Indicate if     Amount of unsecured claim
     mailing address, including zip      and email address of creditor   claim (for       claim is        If the claim is fully unsecured, fill in only unsecured claim
     code                                contact                         example, trade   contingent,     amount. If claim is partially secured, fill in total claim
                                                                         debts, bank      unliquidated,   amount and deduction for value of collateral or setoff to
                                                                         loans,           or disputed     calculate unsecured claim.
                                                                         professional
                                                                         services, and
                                                                                                           Total claim, if         Deduction        Unsecured claim
                                                                                                          partially secured       for value of
                                                                                                                                  collateral or
                                                                                                                                     setoff

    GODIVA CHOCOLATIER, INC             JOE FLORES                       Trade Vendor                                                                   $220,148.38
 40 1 MERIDAN BLVD                      P: 610-988-6050
    WYOMISSING, PA 19610                F:
                                        joe.flores@godiva.com




    Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims                                     page 5
        Case 23-90001-elm11                      Doc 1       Filed 02/14/23 Entered 02/14/23 00:06:55                                Desc Main
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 Fill in this information to identify the case and this filing:


 Debtor Name      Tuesday Morning Corporation

                                          N_o_rt_he_r_n_ _ _ _ _ _ District of
 United States Bankruptcy Court for the: __                                          Texas
                                                                                 (State)
 Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011 .

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         0     Schedule 11/8: Assets-Real and Personal Property (Official Form 206NB)

         0     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         0     Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         0     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         0     Schedule H: Codebtors (Official Form 206H)

         0     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

         D     Amended Schedule


         IZl   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         D     Other document that requires a declaration._ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ __ _ _ _ _ _ __




         I declare under penalty of perjury that the foregoing is true and correct .


         Executed on       02/13/2023
                           MM / DD /YYYY



                                                                   Andrew T. Berger
                                                                  Printed name

                                                                   Chief Executive Officer
                                                                  Position or relationship to debtor



Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                            RIDER 1

           Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

         On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a
petition in the United States Bankruptcy Court for the Northern District of Texas, Dallas Division
for relief under chapter 11 of title 11 of the United States Code. The Debtors have moved for joint
administration of these cases under the case number assigned to the chapter 11 case of Tuesday
Morning Corporation:

       •        Tuesday Morning Corporation

       •        TMI Holdings, Inc.

       •        Tuesday Morning, Inc.

       •        Friday Morning, LLC

       •        Days of the Week, Inc.

       •        Nights of the Week, Inc.

       •        Tuesday Morning Partners, Ltd.
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           Case 23-90001-elm11            Doc 1     Filed 02/14/23 Entered 02/14/23 00:06:55          Desc Main
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                                       UNANIMOUS CONSENT OF THE
                              SPECIAL COMMITTEE OF THE BOARD OF DIRECTORS
                                     TUESDAY MORNING CORPORATION

                                                        February 10, 2023

                   The undersigned being all of the members of the special committee (the “Special
            Committee”) of the board of directors of Tuesday Morning Corporation, a Delaware corporation
            (“TMC” and together with its subsidiaries, the “Company”), hereby agree that a meeting on
            February 10, 2023, was held, and the Special Committee consented to, adopted and approved the
            following resolutions and each and every action effected thereby (the “Special Committee
            Consent”):

                                                             Recitals

                     WHEREAS, the Company is undergoing financial distress and operational challenges;

                    WHEREAS, the Company has explored strategic alternatives, including, without
            limitation, transactions that could take the form of a refinancing, recapitalization, restructuring of
            the indebtedness of the Company and its subsidiaries, commencing potential insolvency
            proceedings, including potentially commencing cases under title 11 of the United States Code (the
            “Bankruptcy Code”), a chapter 11 plan, or a sale of all or substantially all of the assets of the
            Company as a going-concern and/or as part of an orderly liquidation (collectively, the “Potential
            Strategic Alternatives” and each, a “Potential Strategic Alternative”);

                    WHEREAS, on January 27, 2023, in connection with the Potential Strategic Alternatives
            and in furtherance thereof, the board of directors of TMC (the “Board”) approved resolutions, by
            unanimous vote of those present at the meeting, formally delegating certain authority to the Special
            Committee that previously was formed on December 11, 2022, for the purpose of evaluating
            Potential Strategic Alternatives and recommending certain actions to the Board, with such Special
            Committee consisting of the following independent directors: Rhonda J. Parish, Michael Onghai,
            and Z. John Zhang (collectively, the “Special Committee Members”);

                    WHEREAS, given ongoing, rapid developments, the need for near-daily (or even more
            frequent) meetings, the resignation of a director from the Board effective January 29, 2023, and to
            ensure the protection of privileged and confidential information, as well as to avoid the appearance
            of any potential conflicts of interests, the Board further determined to modify and expand the scope
            of the Special Committee’s delegated powers and authority;

                    WHEREAS, pursuant to Section 9 of TMC’s Amended and Restated Bylaws effective as
            of December 31, 2020 (the “Bylaws”), the Company’s Corporate Governance Guidelines,
            effective as of November 16, 2021, and Section 141 of Title 8 of the Delaware Code, the Board
            may designate committees composed of one or more directors, with such authority of which may
            be prescribed by the Board, subject to such limitations as provided by the Company’s Bylaws and
            by applicable law;




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                     WHEREAS, on January 31, 2023, in connection with the Company’s evaluation of
            Potential Strategic Alternatives and in furtherance thereof, the Board of TMC approved
            resolutions, by unanimous vote of those present at the meeting, pursuant to a unanimous written
            consent of the Board of the Company (the “January 31, 2023, Consent”) that, among other things,
            (i) reaffirmed and approved the designation and appointment of the Special Committee Members
            to the Special Committee with the duties and powers delegated to such committee set forth in such
            unanimous written consent; (ii) ratified and approved any and all prior actions taken by the Special
            Committee since its inception; and (iii) delegated and vested the Special Committee with certain
            rights, authority, and powers of the Board, including, (a) if deemed by the Special Committee to
            be in the best interests of the Company, to take such actions as are necessary or advisable to pursue,
            preserve the opportunity to pursue, and/or consummate any Potential Strategic Alternative,
            including, without limitation, causing the Company to commence proceedings under the
            Bankruptcy Code; (b) if deemed by the Special Committee to be in the best interests of the
            Company, to approve and authorize the entry into, any amendment or modification to, and the
            consummation of, any definitive agreement, contract, or other arrangement with respect to any
            Potential Strategic Alternatives; and (c) to retain such other and additional professionals for itself,
            or on behalf of the Company, for advice and assistance, as it deems necessary and proper, to carry
            out its responsibilities;

                   WHEREAS, the Special Committee has received, reviewed and considered materials
            presented by management and the legal and financial advisors of the Company regarding the
            Company’s financial and operating difficulties and the impact of the foregoing on the Company’s
            businesses;

                    WHEREAS, the Special Committee has received, reviewed and considered advice from
            management and the legal and financial advisors of the Company regarding Potential Strategic
            Alternatives to address the Company’s financial and operating difficulties, including pursuant to
            in-court bankruptcy proceedings, and the impact of the foregoing on the Company’s businesses
            and its stakeholders; and

                    WHEREAS, in light of the foregoing, the Special Committee has determined that it is
            desirable and in the best interest of the Company to cause to be filed petitions by the Company
            and its subsidiaries seeking relief under the provisions of Chapter 11 of Title 11 of the United
            States Code (the “Bankruptcy Code”).

                     NOW, THEREFORE, BE IT

            Filing and Prosecution of Bankruptcy Case

                    RESOLVED, that it is desirable and in the best interest of the Company to authorize
            Andrew T. Berger or any officer of the Company (each, an “Authorized Officer”), to cause to be
            filed petitions in the name of the Company and each of the Company’s subsidiaries (the “Chapter
            11 Petitions”) seeking relief under the provisions of Chapter 11 of the Bankruptcy Code; and it is
            further

                   RESOLVED, that the Authorized Officer, acting on behalf of the Company, hereby is
            authorized and directed to execute and verify the Chapter 11 Petitions and, subject to the Company



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            obtaining debtor-in-possession financing, to cause the same to be filed in the United States
            Bankruptcy Court for the Northern District of Texas, Fort Worth Division (the “Bankruptcy
            Court”), in such form and at such time as the Authorized Officer shall determine; and it is further

                   RESOLVED, that the Authorized Officer, acting on behalf of the Company, hereby is
            authorized and directed to execute and file (or direct others to do so on behalf of the Company as
            provided herein) all necessary documents, including, without limitation, all petitions, affidavits,
            schedules, motions, lists, applications, pleadings and other papers, and in connection therewith, to
            employ and retain all assistance by legal counsel, accountants or other professionals and to take
            any and all action deemed necessary and proper in connection with the Chapter 11 cases (the
            “Chapter 11 Cases”); and it is further

            Employment of Professionals

                    RESOLVED, that the Authorized Officer, acting on behalf of the Company, is hereby
            authorized and directed to select, in his discretion, an appropriate law firm to serve as bankruptcy
            counsel for the Company in the Chapter 11 Cases, and the Authorized Officer, acting behalf of the
            Company, is hereby authorized and directed to execute appropriate retention agreements, direct
            payment of appropriate retainers prior to and after the filing of the Chapter 11 Cases and cause to
            be filed an appropriate application for authority to retain the services of such firm; and it is further

                    RESOLVED, that the Authorized Officer, acting on behalf of the Company, is hereby
            authorized and directed to select, in his discretion, an appropriate firm to serve as financial advisor
            for the Company in connection with the Chapter 11 Cases, and the Authorized Officer, acting
            behalf of the Company, is hereby authorized and directed to execute appropriate retention
            agreements, direct payment of appropriate retainers prior to and after the filing of the Chapter 11
            Cases and cause to be filed an appropriate application for authority to retain the services of such
            firm; and it is further

                    RESOLVED, that the investment banking firm of Piper Sandler (“Piper Sandler”) be, and
            hereby is, employed as investment banker for the Company in the Chapter 11 Cases, and the
            Authorized Officer, acting on behalf of the Company, is hereby authorized and directed to execute
            any appropriate retention agreement, direct payment of appropriate retainers in substantially the
            amount previously discussed by the Special Committee prior to and immediately upon the filing
            of the Chapter 11 Cases, and cause to be filed an appropriate application for authority to retain the
            services of Piper Sandler; and it is further

                    RESOLVED, that the consulting firm of Stretto, Inc. (“Stretto”) be, and hereby is,
            employed as claims and noticing agent and to provide other related services for the Company in
            the Chapter 11 Cases, and the Authorized Officer, acting on behalf of the Company, is hereby
            authorized and directed to execute appropriate retention agreements, direct payment of appropriate
            retainers in substantially the amount previously discussed by the Special Committee prior to and
            immediately upon the filing of the Chapter 11 Cases, and cause to be filed an appropriate
            application for authority to retain the services of Stretto; and it is further

                   RESOLVED, that the Authorized Officer, acting on behalf of the Company, is hereby
            authorized and directed to employ any other firm as professionals or consultants to the Company



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            as are deemed necessary to represent and assist the Company in carrying out its duties under the
            Bankruptcy Code and, in connection therewith, the Authorized Officer, acting behalf of the
            Company, is hereby authorized and directed to execute appropriate retention agreements, direct
            payment of appropriate retainers prior to and after the filing of the Chapter 11 Cases and cause to
            be filed appropriate applications for authority to retain the services of such firm; and it is further

            Authorization to Pursue DIP Financing

                    RESOLVED, that the Authorized Officer, acting on behalf of the Company, is hereby
            granted full authority to continue ongoing discussions to obtain debtor in possession financing that
            allows the Company an opportunity to pursue a value-maximizing, going-concern sale of certain
            store locations, a reorganization around the Company’s most profitable store locations, or, if a
            going-concern sale or reorganization is not possible, an orderly liquidation process on terms that
            are reasonable under the circumstances, as determined in consultation with the Company’s
            professionals and advisors, and, subject to Bankruptcy Court approval, to enter into a debtor in
            possession credit agreement and such other ancillary agreements, documents, and instruments
            relating thereto; and it is further

            Authorization to Pursue Store Closing Strategy

                    RESOLVED, that, in conjunction with the analysis of store performance, the Authorized
            Officer, acting on behalf of the Company and with the assistance of the Company’s management
            team, in the exercise of sound business judgment and in consultation with the Company’s advisors,
            may determine that it is appropriate to close and wind down, to the extent necessary, some, all, or
            a significant number of store locations to increase liquidity, maximize cost savings, strengthen the
            Company’s overall financial position, and maximize the value of the Company’s bankruptcy
            estate; and it is further

            General Authorizing Resolutions

                    RESOLVED that the Authorized Officer, acting on behalf of the Company, is hereby
            granted full authority to act in the name of and on behalf of the Company, under the Company’s
            seal or otherwise, to make, enter into, execute, deliver and file any and all other or further
            agreements, documents, certificates, materials and instruments, to disburse funds of the Company,
            to take or cause to be taken any and all other actions, and to incur all such fees and expenses
            deemed to be necessary, appropriate, or advisable to carry out the purposes of the foregoing
            resolutions and the transactions contemplated thereunder and/or to successfully complete the
            Chapter 11 Cases, the taking of any such action to constitute conclusive evidence of the exercise
            of such discretionary authority; and it is further

                   RESOLVED, that all acts lawfully done or actions lawfully taken by the Officers, Directors
            and/or Special Committee to seek relief under Chapter 11 of the Bankruptcy Code or in connection
            with the Chapter 11 Cases, or any matter related thereto, be, and hereby are, adopted, ratified,
            confirmed and approved in all respects as the acts and deeds of the Company; and it is further

                   RESOLVED, that the Authorized Officer, acting on behalf of the Company, is authorized,
            empowered and directed to certify and attest any documents or materials deemed necessary,
            desirable, or appropriate to consummate the transactions contemplated by the foregoing


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            resolutions, without the necessity of further approvals or consents by the Shareholders or the
            affixing of any seal of the Company; and it is further

                    RESOLVED, that all actions heretofore taken by the Company, the Officers, the individual
            Directors, the Special Committee, and other authorized representative of the Company with respect
            to the foregoing transactions and all other matters contemplated by the foregoing resolutions that
            require approval by the Special Committee are hereby in all respects, approved, adopted, ratified,
            and confirmed.

                    IN WITNESS WHEREOF, the undersigned, being all of the members of the Special
            Committee, have executed this written consent, and hereby consent to the foregoing resolutions,
            effective upon receipt by the Secretary of the Company of all executed counterparts hereof.

                                                     [Signature Page Follows]




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                           2/10/2023
                     Date:__________                         By: __ _________________________
                                                             Name: Michael Onghai
                           2/10/2023
                     Date:__________                         By: ____________________________
                                                             Name: Rhonda J. Parish
                           2/10/2023
                     Date:__________                         By: ____________________________
                                                             Name: Z. John Zhang

                                                             Being all of the members of the
                                                             Special Committee of the Board of Directors
                                                             of Tuesday Morning Corporation




                             Signature Page to February 10, 2023, Unanimous Consent of the
                       Special Committee of the Board of Directors of Tuesday Morning Corporation


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